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                                                                                          Jun 29, 2022
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
               22-20290-CR-BLOOM/OTAZO-REYES
                             CASE NO.                             -
                                           18 u.s.c. § 1343
                                           18 U.S.C. § 981( a)(l)(C )

 UNITED STATES OF AMERICA

 vs.

 ERIC DEAN SHEPP ARD,

          Defendant.


                                            INDICTMENT

          The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

          At all times material to this Indictment:

       The Small Business Administration, the COVID-19 Emergency, and the CARES Act

          1.    The Coronavirus Aid, Relief, and Economic Security ("CARES") Act was a federal

 law enacted on March 27, 2020, to provide emergency financial assistance to Americans suffering

 economic harms from the COVID-19 pandemic. To achieve this goal, the CARES Act established

 new temporary programs and expanded existing programs administered by the United States Small

 Business Administration ("SBA").

                                 The Paycheck Protection Program

          2.    One source ofreliefprovided by the CARES Act was the authorization of forgivable

 loans to small businesses for job retention and certain other expenses, through a program referred

 to as the Paycheck Protection Program ("PPP").
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